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 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                        WESTERN
11
12   LUCAS R., by his next friend             Case No. 2:18-CV-05741
     MADELYN R.; DANIELA MARISOL
13   T., by her next friend KATHERINE L.;     CLASS ACTION
     MIGUEL ANGEL S., by his next
14   friend GERARDO S.; GABRIELA N.,
     by her next friend ISAAC N.; JAIME       APPLICATION FOR LEAVE TO
15   D., by his next friend REYNA D.; SAN     FILE UNDER SEAL DOCUMENTS
     FERNANDO VALLEY REFUGEE                  SUBMITTED IN SUPPORT OF
16   CHILDREN CENTER, INC.;                   OPPOSITION TO MOTION TO
     UNACCOMPANIED CENTRAL                    DISMISS
17   AMERICAN REFUGEE
     EMPOWERMENT,                             Complaint Filed: June 29, 2018
18
                     Plaintiffs,              Trial Date: None Set
19                                            Judge: Hon. Dolly M. Gee
           v.
20
     ALEX AZAR, Secretary of U.S.
21   Department of Health and Human
     Services; E. SCOTT LLOYD, Director,
22   Office of Refugee Resettlement of the
     U.S. Department of Health & Human
23   Services,
24                   Defendants.
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                                                             APP FOR LEAVE TO FILE UNDER SEAL
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 1         Pursuant to Federal Rule of Civil Procedure 5.2(d), Local Rule 79-5, and the
 2   Court’s Order granting leave to use pseudonyms (ECF 18), Plaintiffs submit this
 3   unopposed 1 Application seeking leave to file under seal portions of Exhibits 1, 2, 3, and
 4   4 submitted in support of their Opposition to the Motion to Dismiss. As required by
 5   Local Rule 79-5.2.2(a), Plaintiffs submits concurrently with this application the
 6   declaration of Megan Donohue, redacted and unredacted versions of the Exhibits, and
 7   a proposed order.
 8         Exhibits A-D include the full name of Daniela Marisol T. and her Next Friend,
 9   Daniela Marisol’s birthdate, her alien registration number, and the names of other
10   family members. Daniela Marisol is a minor in the immigration detention custody of
11   the Office of Refugee Resettlement (ORR). She has an interest in maintaining her
12   privacy while in immigration custody and in her private medical and mental health
13   information.
14   I.    LEGAL STANDARD
15         “[A] court may seal records only when it finds a compelling reason and
16   articulate[s] the factual basis for its ruling, without relying on hypothesis or conjecture.”
17   Id. at 1096-97. Under this standard, the “party seeking to seal a judicial record then
18   bears the burden of . . . articulat[ing] compelling reasons supported by specific factual
19   findings . . . that outweigh the general history of access and the public policies favoring
20   disclosure, such as the public interest in understanding the judicial process.” Kamakana
21   v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006) (internal quotation
22   marks and citations omitted). The court must “conscientiously balance[] the competing
23   interests of the public and the party who seeks to keep certain judicial records secret.”
24   Id. at 1179 (internal quotation marks and citations omitted).
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       Defendants’ counsel, Ms. Marina Stevenson (Marina.C.Stevenson@usdoj.gov), has
28   informed Plaintiffs that Defendants will not oppose this Application.
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 1   II.   ARGUMENT
 2         A.     There are compelling reasons to seal the information that Plaintiffs
 3                seek to protect from public disclosure.
 4         This document contains highly personal information regarding Daniela Marisol.
 5   Disclosure of this information would cause her significant harm. Indeed, the Court
 6   already determined that there are compelling reasons to protect this and similar
 7   information previously. (ECF 18, 28, 36, 46, 56, 57.)
 8         First, the Exhibits addresses a number of very sensitive and personal matters,
 9   including the private health information and treatment of Daniela Marisol. Courts have
10   recognized a constitutionally protected interest in avoiding disclosure of such personal
11   matters, including medical information. Doe v. Beard, 63 F. Supp. 3d 1159, 1166 n.4
12   (C.D. Cal. 2014) (collecting cases); see also Globe Newspaper Co. v. Superior Court,
13   457 U.S. 596, 607 (1982) (finding that “safeguarding the physical and psychological
14   well-being of a minor” is a compelling interest).
15         Second, the Exhibits implicates the details of Daniela Marisol’s immigration
16   detention and asylum claims. Federal law and policy maintain personally identifying
17   information related to such matters as confidential, particularly for minors in the
18   custody of the Office of Refugee Resettlement. See, e.g., 8 C.F.R. § 236.6 (prohibiting
19   release of “the name of, or other information relating, to” immigration detainees); 8
20   C.F.R. § 208.6 (maintaining confidentiality of asylum applications and related records).
21         Third, the sensitive subject matter at issue – including private health information
22   and immigration detention – is based exclusively on Daniela Marisol’s experience as a
23   minor. Federal courts recognize the importance of protecting minors’ identities and
24   personal information in court proceedings. Doe v. Kamehameha Schs./Bernice Pauahi
25   Bishop Estate, 625 F.3d 1182, 1187 (9th Cir. 2010) (Reinhardt, J., dissenting from
26   denial of reh’g en banc) (“The interest of minors in privacy is greater than the public’s
27   interest in learning their names, even when there is no particular threat to the juvenile’s
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 1   physical safety or wellbeing.”).
 2          B.    Plaintiffs’ sealing request is narrowly tailored.
 3          Plaintiffs seek only a limited sealing order that permits them to file unredacted
 4   versions of Exhibits A-D under seal and redacted versions of Exhibits A-D in the public
 5   record. Other relevant information important to Plaintiffs presentation of the issues, will
 6   still be maintained in the public record, and the Court’s resolution of these matters will
 7   be public as well. Accordingly, filing portions of these Exhibits under seal is the least
 8   restrictive method of ensuring Daniela Marisol’s and her family members’ privacy
 9   while permitting the public access to the maximum amount of information.
10   III.   CONCLUSION
11          For the reasons set forth above, Plaintiffs respectfully request leave to file
12   portions of Exhibits A-D under seal.
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